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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

SECURITIES AND EXCHANGE COMMISSION,
Plaintiff,

C.A. No. 15-cv-06076 (MCA)

v.

ARKADIY DUBOVOY,ET AL.,

Defendants.

FINAL JUDGMENT AS TO DEFENDANT VITALY KORCHEVSKY

The Securities and Exchange Commission having filed an Amended Complaint and

Defendant Vitaly Korchevsky having entered a general appearance; consented to the Court’s
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jurisdiction over Defendant and the subject matter of this action; consented to entry of this Final uersdichon

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Judgment; waived findings of fact and conclusions of law; and waived any right to appeal from On pales
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I.

IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is
permanently restrained and enjoined from violating, directly or indirectly, Section 10(b) of the
Securities Exchange Act of 1934 (the “Exchange Act’) [15 U.S.C. § 78j(b)] and Rule 10b-5
promulgated thereunder [17 C.F.R. § 240.10b-5], by using any means or instrumentality of
interstate commerce, or of the mails, or of any facility of any national securities exchange, in
connection with the purchase or sale of any security:

(a) to employ any device, scheme, or artifice to defraud;
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(b)

(c)

to make any untrue statement of a material fact or to omit to state a material fact
necessary in order to make the statements made, in the light of the circumstances
under which they were made, not misleading; or

to engage in any act, practice, or course of business which operates or would

operate as a fraud or deceit upon any person.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federa! Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).

Il.

IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

______is-permanently_restrained_and_enjoined_from_violating_Section_17(a) of the Securities Act of 1933.

(the “Securities Act”) {15 U.S.C. § 77q(a)] in the offer or sale of any security by the use of any

means or instruments of transportation or communication in interstate commerce or by use of the

mails, directly or indirectly:

(a)
(b)

(c)

to employ any device, scheme, or artifice to defraud;

to obtain money or property by means of any untrue statement of a material fact
or any omission of a material fact necessary in order to make the statements
made, in light of the circumstances under which they were made, not misleading;
or

to engage in any transaction, practice, or course of business which operates or

would operate asa fraud or deceit upon the purchaser.
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IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in
Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who
receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s
officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).

II.

IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant
is liable for disgorgement of $14,829,472, representing profits gained as a result of the conduct
alleged in the Amended Complaint (“Payment Obligation”), and that Defendant is jointly and
severally liable for the Payment Obligation with defendant NTS Capital Fund, LP; provided,
however, that $14,791,307 of the Payment Obligation shall be deemed satisfied by the forfeiture
and restitution paid by Korchevsky in United States v. Korchevsky, et al., in the U.S. District

_____ Court-for-the-Eastern-District-of New York, Case No. 15-cr-00381 (“Criminal Action”).

However, if Korcheysky’s conviction in the Criminal Action is reversed or vacated, or

his obligations to comply with his forfeiture and/or restitution obligations are reduced, the parties
shall so notify the Court within 60 days, this Final Judgment shall be vacated, and the parties
shall be returned to their procedural posture immediately prior to entry of this Final Judgment.

The Court finds that sending the disgorged funds to the United States Treasury, as
ordered below, is consistent with equitable principles. Defendant shall satisfy the remaining
obligation by paying $38,165 to the Securities and Exchange Commission within 30 days after
entry of this Final Judgment.

Defendant may transmit payment electronically to the Commission, which will provide

detailed ACH transfer/Fedwire instructions upon request. Payment may also be made directly
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from a bank account via Pay.gov through the SEC website at
http//www.sec.gov/about/offices/ofm.htm. Defendant may also pay by certified check, bank
cashier’s check, or United States postal money order payable to the Securities and Exchange
Commission, which shall be delivered or mailed to

Enterprise Services Center

Accounts Receivable Branch

6500 South MacArthur Boulevard

Oklahoma City, OK 73169
and shall be accompanied by a letter identifying the case title, civil action number, and name of
this Court; Vitaly Korchevsky as a defendant in this action; and specifying that payment is made
pursuant to this Final Judgment.

Defendant shall simultaneously transmit photocopies of evidence of payment and case
identifying information to the Commission’s counsel in this action. By making this payment,

Defendant relinquishes all legal and equitable right, title, and interest in such funds and no part

of the-funds-shall_be-returned-to_DefendantThe-Commission shall send the funds paid pursuant

tothis Final Judgment to the United States Treasury.

The Commission may enforce the Court’s judgment for disgorgement by using all
collection procedures authorized by law, including, but not limited to, moving for civil contempt
at any time after 30 days following entry of this Fina! Judgment.

Defendant shall pay post judgment interest on any amounts due after 30 days of the entry

of this Final Judgment pursuant to 28 U.S.C. § 1961.
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IV.
IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is

incorporated herein with the same force and effect as if fully set forth herein, and that Defendant

shall comply with all of the undertakings and agreements set forth therein.

V.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, for purposes of
exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. §523, the
allegations in the amended complaint are true and admitted by Defendant, and further, any debt
for disgorgement, prejudgment interest, civil penalty or other amounts due by Defendant under
this Final Judgment or any other judgment, order, consent order, decree or settlement agreement
entered in connection with this proceeding, is a debt for the violation by Defendant of the federal

securities laws or any regulation or order issued under such laws, as set forth in Section

§23(a)(19)_of the Bankruptcy Code, 11 U.S.C. §523(a)(19).

Vi.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.

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Vil.
There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of Civil

Procedure, the Clerk is ordered to enter this Final Judgment forthwith and without further notice.

cf SA Wann OSH

Dated: - tft 3 Zo22

